  Case 8-10-70336-reg                 Doc 32         Filed 04/20/10           Entered 04/20/10 08:51:08




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
_________________________

In re
                                                                  Case No. 10-70336
         PAYAND HAKIMIAN,                                         Chapter 7

                                            Debtor.

_________________________


    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1. Pursuant to 11 USC 329(a) and Bankruptcy Rule 2016(b), I certify that I am the
attorney for the above-named debtor and that the compensation paid to me within
one year before the filing of the petition, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor in contemplation of or in
connection with the bankruptcy case is as follows:

   For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . $1,000.00

   Prior to the filing of this statement I have received . . . . . . . . . .                      0.00

   Balance due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1,000.00

2. The source of compensation to be paid to me will be third party.

3. I have not agreed to share the above-disclosed compensation with any other
person.

4. In return for the above-disclosed fee, I have agreed to render legal services which
include:

   a. analysis of the debtor’s financial situation, and rendering advice to the
      the debtor to determine whether to file a petition under Title 11;

   b. preparation and filing of any petition, schedules, statement of financial
      affairs, required forms and any amendments;

   c. representation of the debtor as the meeting of creditors and any adjourned
      date.
  Case 8-10-70336-reg       Doc 32     Filed 04/20/10     Entered 04/20/10 08:51:08




                            CERTIFICATION


I certify that the foregoing is a complete statement of any agreement of arrangement for
payment to me for representation of the Debtor in this matter.



Dated: March 3, 2010


Signature of Attorney:   /ss/ James O. Guy, Esquire [JG-2845]


Name of Law Firm:             James O. Guy, Esquire
                              49 Spice Mill Boulevard
                              Clifton Park, NY 12065
                              518.320.7136
                              518.320.7137 (facsimile)
